Case 8:21-cv-02429-SDM-TGW Document 23 Filed 11/03/21 Page 1 of 41 PageID 472




                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE MIDDLE DISTRICT OF FLORIDA

 NAVY SEAL # 1, et al.,
                             Plaintiffs,
        v.                                             Case No. 8:21-cv-02429-SDM-TGW
 JOSEPH R. BIDEN, JR., in his official
 capacity as President of the United States, et al.,
                             Defendants.


    DEFENDANTS’ OPPOSITION TO PLAINTIFFS’ MOTION FOR A
 TEMPORARY RESTRAINING ORDER AND PRELIMINARY INJUNCTION

        Plaintiffs—eighteen service members, four civilian government contractors, and

 one employer of federal contractors, all proceeding anonymously—seek an order

 enjoining the COVID-19 vaccination requirements for the armed forces, the federal

 civilian workforce, and the federal contracting force—together totaling approximately

 8 million people—worldwide. They also seek an order requiring Defendants to grant

 all requests for religious exemptions to these requirements before those requests are

 even adjudicated. Such an injunction would be extraordinary and unprecedented,

 particularly in the military context where the Supreme Court has consistently

 cautioned against judicial interference.

        Multiple jurisdictional obstacles preclude a finding that Plaintiffs are likely to

 succeed on their claims. Plaintiffs’ claims against the military are not justiciable, and

 even if they were, they are not ripe because Plaintiffs have not shown that their

 exemption requests have been fully adjudicated. Nor have they shown that any

 individual Plaintiff is affected by the civilian and contractor requirements.


                                              1
Case 8:21-cv-02429-SDM-TGW Document 23 Filed 11/03/21 Page 2 of 41 PageID 473




       On the merits, Plaintiffs’ claims—which are based on false premises—fare no

 better. Plaintiffs’ Federal Food, Drug, and Cosmetics Act (“FDCA”) challenges fail

 because only FDA-approved vaccines are required under the relevant policies. And

 each challenged vaccine requirement explicitly allows for a religious accommodation,

 satisfying the requirements of the Religious Freedom Restoration Act (“RFRA”).

       The remaining injunction factors also favor Defendants. Plaintiffs proceeding

 anonymously cannot show that they face irreparable harm or that the balance of

 equities tilts in their favor. Moreover, vaccine requirements have been commonplace

 in the military for generations and are critical to reducing infectious disease morbidity

 and mortality in the armed forces where service members must routinely operate in

 close quarters. Outside of the military, slowing the spread of COVID-19 among

 millions of federal employees and contractors is squarely in the public interest. Even

 if applied just to the named Plaintiffs, an injunction would degrade military readiness,

 undermine the efforts to combat the deadly coronavirus, and harm national security.

       For these reasons, set forth further below, Plaintiffs’ motion should be denied.

                                   BACKGROUND

 I.    The COVID-19 Pandemic

       On January 31, 2020, the Secretary of Health and Human Services (“HHS”)

 declared a public health emergency because of COVID-19, a respiratory disease caused

 by the novel coronavirus, SARS-CoV-2. HHS, Determination that a Public Health

 Emergency Exists (Jan. 31, 2020), https://perma.cc/VZ5X-CT5R. On March 13, 2020,

 the President declared the COVID-19 outbreak a national emergency. 85 Fed. Reg.

                                            2
Case 8:21-cv-02429-SDM-TGW Document 23 Filed 11/03/21 Page 3 of 41 PageID 474




 15,337 (Mar. 13, 2020). In July 2021, the United States began to experience “a rapid

 and alarming rise in . . . COVID-19 cases and hospitalization rates,” driven by an

 especially contagious strain.        See Centers for Disease Control and Prevention

 (“CDC”), Delta Variant (updated Aug. 26, 2021), https://perma.cc/4RW6-7SGB. 1

 II.    Federal Regulation of and Guidance Concerning COVID-19 Vaccines

        FDA has authority to review and approve “biological products,” including

 vaccines. See 42 U.S.C. § 262(a)(1), (i)(1). In an emergency, FDA may issue an

 “emergency use authorization” (“EUA”), which authorizes the marketing of vaccines

 (and other FDA-regulated products) “intended for use” in responding to the

 emergency. 21 U.S.C. § 360bbb-3. In March 2020, the Secretary of HHS determined

 that “circumstances exist justifying the authorization of emergency use of drugs and

 biological products during the COVID-19 pandemic.” EUA Declaration, 85 Fed. Reg.

 18,250, 18,250–51 (Apr. 1, 2020). Based on that determination, FDA issued EUAs

 for COVID-19 vaccines developed by Pfizer, Inc., and two other manufacturers. See

 Ex. 13 (Decl. of Peter Marks, M.D., Ph.D) Exs. B, C. 2 These EUAs were based on

 FDA’s review of extensive safety and efficacy data, including from a Pfizer clinical

 trial with approximately 46,000 participants. Id. 3


 1
  The Court may take judicial notice of factual information available on government websites. See
 Tellabs, Inc. v. Makor Issues & Rts., Ltd., 551 U.S. 308, 322–23 (2007).
 2
  The Marks Declaration was prepared and submitted in connection with separate litigation. Here, it
 provides useful background information on the Pfizer EUA and approval.
 3
  On October 29, 2021, FDA amended the EUA to include a modified formulation of the Pfizer
 vaccine for use in children 5 through 11 years old. FDA also authorized a modified formulation for
 those 12 years of age and older. FDA determined that the “12 and older” modified formulation may


                                                 3
Case 8:21-cv-02429-SDM-TGW Document 23 Filed 11/03/21 Page 4 of 41 PageID 475




        On August 23, 2021, Pfizer’s COVID-19 vaccine, under the name Comirnaty,

 obtained FDA approval for its intended use by people aged 16 years and older. Id. at

 Ex. A. This means that the vaccine, having successfully completed “the agency’s

 standard process for reviewing the quality, safety and effectiveness of medical

 products,” is no longer available only through an EUA. 4 FDA, News Release – FDA

 Approves First COVID-19 Vaccine (Aug. 23, 2021), https://perma.cc/C4DD-PWE5.

 III.   Department of Defense COVID-19 Vaccine Directive

        The U.S. military instituted its first immunization program in 1777 when

 General Washington directed the inoculation of the Continental Army for smallpox.

 Lemon S, et al., Protecting Our Forces: Improving Vaccine Acquisition and

 Availability in the US Military, National Academies Press, 2002, available at

 https://perma.cc/E545-TQ9G last check Oct. 21, 2021. Deaths due to infectious

 diseases outnumbered those due to direct combat injuries until World War II, after

 vaccines became widespread. Id. More recently, disease accounted for nearly 70% of

 U.S. Army Hospital admissions during the Persian Gulf War. Id. Military-mandated

 vaccines have played a key role in reducing infectious disease morbidity and mortality

 among military personnel. Id., Table 1-1 (highlighting the historical use of vaccines in

 armed conflict). For decades, the military has implemented a variety of enduring or

 situational inoculation measures to maintain the readiness of the force. Id., see also Ex.


 be used interchangeably with Comirnaty and the originally formulated EUA vaccine. Letter of
 Authorization at 3-4 (Oct. 29, 2021), available at https://www.fda.gov/media/150386/download.
 4
  “Even after FDA approved Comirnaty, FDA authorized continued use of the Pfizer-BioNTech
 Covid-19 vaccine under an EUA for indications that included the approved use.” Ex. 13 ¶ 8.


                                               4
Case 8:21-cv-02429-SDM-TGW Document 23 Filed 11/03/21 Page 5 of 41 PageID 476




 12 (Congressional Research Report Defense Health Primer: Military Vaccinations).

         The Department of Defense’s (“DoD”) current immunization program is

 governed by DoD Instruction (“DoDI”) 6205.02. Nine vaccines are required for all

 service members, including the annual influenza vaccine, while eight others are

 required when certain elevated risk factors are present. See Ex. 5 (Army Regulation

 (“AR”) 40-562), Table D-1. In general, DoD aligns its immunization requirements

 and eligibility determinations for service members with recommendations from the

 CDC and its Advisory Committee on Immunization Practices. Ex. 4 (DoDI 6205.02)

 at 3.   The Military Services have separately issued regulatory guidance for the

 administration of vaccines to service members including processes to seek medical and

 religious exemptions. See Ex. 5, Chapter 2.6. DoD’s immunization program also

 applies to the Coast Guard. Ex. 23 (ALCOAST 305-21) ¶¶ 2, 3.

         On August 9, 2021, Secretary of Defense Lloyd Austin, noting the impact

 COVID-19 rates have on military readiness, announced that he would add the

 COVID-19 vaccine to the list of vaccines required for all service members by the earlier

 of mid-September or upon approval by the FDA. See Ex. 1 (Mem. for all Defense

 Employees (Aug. 9, 2021)). On August 24, 2021, after FDA announced the approval

 of the Pfizer COVID-19 vaccine, Secretary Austin directed the Secretaries of the

 Military Departments to immediately vaccinate all members of the armed forces under

 DoD authority who were not already fully vaccinated. See Ex. 2 (Mem. For Senior

 Pentagon Leadership, Commanders of the Combatant Commands, Defense Agency



                                            5
Case 8:21-cv-02429-SDM-TGW Document 23 Filed 11/03/21 Page 6 of 41 PageID 477




 and DoD Field Activity Directors (Aug. 24, 2021)). Only FDA-licensed vaccines are

 required, in accordance with FDA labeling and guidance. Id.

       Shortly thereafter, the Military Services issued guidance for implementing the

 Secretary’s directive. As with other vaccine requirements, Service implementation

 guidance establishes a process to seek medical and religious exemptions. See Ex. 6

 (Fragmentary Order (“FRAGO”) 5 to Army Executive Order 225-21) ¶ 3.D.8.B.6; Ex.

 8 (NAVADMIN 190/21) ¶ 3.d; Ex. 9 (MARADMIN 462/21) ¶¶ 3j, 3k; Ex. 11 (Air

 Force COVID-19 Vaccine Implementation Guidance (Sept. 3, 2021)) ¶ 4.5, 5.1; Ex.

 23 (ALCOAST 352-21) ¶ 7. Each Service has an appeal process available to service

 members seeking religious exemptions if their initial requests are denied. Ex. 16 (Decl.

 of Michele Soltis) ¶ 14 (Army); Ex. 17 (Decl. of William Merz) ¶ 14 (Navy); Ex. 18

 (Decl. of David Furness), ¶ 12.c (Marines); Ex. 21 (Decl. of Matthew Streett) ¶¶ 12–

 13 (Air Force); Ex. 24 (Decl. of Shannon Gilreath) ¶ 10 (Coast Guard).

       A service member who refuses vaccination without an approved exemption

 may be subject to discipline or adverse administrative action. See, e.g., Ex. 6 ¶¶

 3.D.8.B.1.D, 3.D.8.B.1.E. But adverse action will not be taken against a service

 member with a pending exemption request. Id. Only senior military officers—O6 and

 above—may initiate adverse action for refusing vaccination. See Ex. 6 ¶ 3.D.8.B.1;

 Ex. 8 ¶ 3.e.(5); Ex. 9 ¶ 3.n; Ex. 10 (Secretary of Air Force Memorandum for Air Force

 Commanders (Sept. 3, 2021)); Ex. 23 (ALCOAST 305-21) ¶ 7.

 IV.   Vaccine Requirements for Federal Civilian Employees and Contractors

       On September 9, 2021, President Biden issued two executive orders addressing

                                            6
Case 8:21-cv-02429-SDM-TGW Document 23 Filed 11/03/21 Page 7 of 41 PageID 478




 COVID-19 vaccination requirements for federal employees and contractors. See Exec.

 Order 14043, 86 Fed. Reg. 50,989 (Sept. 14, 2021) (civilian federal employees); Exec.

 Order 14042, 86 Fed. Reg. 50,985 (Sept. 14, 2021) (federal contractors).

       Executive Order No. (“EO”) 14043 instructs each federal agency to

 “implement, to the extent consistent with applicable law, a program to require

 COVID-19 vaccination for all of its federal employees, with exceptions only as

 required by law.” 86 Fed. Reg. at 50,990. The directive is based on “public health

 guidance” providing that “the best way to slow the spread of COVID-19 and to prevent

 infection by the Delta variant or other variants is to be vaccinated.” Id. The EO directs

 the Safer Federal Workforce Task Force (“Task Force”) to issue guidance on

 implementation of the vaccination requirement. Id. at 50,990.

       The Task Force guidance, like the EO, recognizes that federal employees may

 be eligible for exceptions to the vaccination requirement based on a medical condition

 or religious objection, see Task Force, Frequently Asked Questions (“FAQs”),

 Vaccinations,       Limited       Exceptions      to      Vaccination      Requirement,

 https://perma.cc/5Q6U-4CGG (“Exception FAQs”), and directs each agency to

 “follow its ordinary process to review and consider what, if any, accommodation it

 must offer” under applicable federal law, see Task Force, FAQs, Vaccinations,

 Enforcement      of     Vaccination      Requirement      for   Federal     Employees,

 https://perma.cc/YH2Z-CMDJ (“Enforcement FAQs”); see also Template: Request

 for   a   Medical     Exception    to   the    COVID-19     Vaccination    Requirement,

 https://perma.cc/LD7Q-D5JZ; Template: Request for a Religious Exception to the

                                               7
Case 8:21-cv-02429-SDM-TGW Document 23 Filed 11/03/21 Page 8 of 41 PageID 479




 COVID-19 Vaccination Requirement, https://perma.cc/6W38-ASNN.

       Federal employees without an exception should be fully vaccinated “no later

 than November 22, 2021.” Task Force, COVID-19 Workplace Safety: Agency Model

 Safety Principles at 1 (updated Sept. 13, 2021), https://perma.cc/2GME-U67N. An

 employee who requests an exception will not be subject to discipline while the request

 is under consideration. See Enforcement FAQs. If an exception request is denied, the

 employee should be given two weeks from the denial to receive the first (or only) dose

 of a COVID-19 vaccine before being subject to discipline. See Exception FAQs.

       The President issued EO 14042 to “promote[] economy and efficiency in

 Federal procurement by ensuring that the parties that contract with the Federal

 Government provide adequate COVID-19 safeguards to their workers performing on

 or in connection with a Federal Government contract or contract-like instrument.” 86

 Fed. Reg. at 50,985. The President determined that new safeguards would “decrease

 worker absence, reduce labor costs, and improve the efficiency of contractors and

 subcontractors at sites where they are performing work for the Federal Government.”

 Id. EO 14042 directs federal executive departments and agencies, “to the extent

 permitted by law,” to include in qualifying contracts a clause requiring compliance

 with workplace safety guidance issued by the Task Force. Id.; see also id. at 50,986-

 50,987 (listing the categories of contracts to which the EO applies). The EO further

 directs the Federal Acquisition Regulatory Council to make corresponding

 amendments to the Federal Acquisition Regulation (“FAR”) and in the interim to

 issue guidance to federal agencies on how to use existing authority to include the new

                                           8
Case 8:21-cv-02429-SDM-TGW Document 23 Filed 11/03/21 Page 9 of 41 PageID 480




 provision in covered contracts. Id. at 50,986.

       The Task Force issued safety guidance on September 24, 2021. Task Force,

 COVID-19 Workplace Safety: Guidance for Federal Contractors and Subcontractors,

 https://perma.cc/6DRV-LV2Q (“Contractor Guidance”). That guidance, which the

 Office of Management and Budget approved pursuant to the Executive Order,

 https://perma.cc/CL8P-YV5B, requires that covered contractor and subcontractor

 employees should receive a COVID-19 vaccination, except insofar as any such

 employee is legally entitled to an accommodation. Id. Consistent with the EO, the

 guidance has a phase-in period for the new requirements, generally keyed to new

 contracts awarded on or after November 14, 2021, and any changes to existing

 contracts made on or after October 15, 2021. See id. As of December 8, 2021, covered

 contractor employees must be vaccinated on the first day of a new contract or when

 there is a renewal, extension, or exercised option on an existing one. Id.

       The guidance recognizes that covered contractors “may be required to provide

 an accommodation to covered contractor employees . . . because of a disability (which

 would include medical conditions) or because of a sincerely held religious belief,

 practice, or observance.” Id. In assessing these requests, covered contractors are

 directed to “review and consider what, if any, accommodation it must offer.” Id. “The

 contractor is responsible for considering, and dispositioning, such requests for

 accommodation.” Task Force, FAQs, Federal Contractor, Vaccination and Safety

 Protocols, https://perma.cc/6DRV-LV2Q (“Contractor FAQs”).



                                            9
Case 8:21-cv-02429-SDM-TGW Document 23 Filed 11/03/21 Page 10 of 41 PageID 481




 V.     Procedural History

        On October 15, 2021, eighteen service members, four government contractors,

 and one employer of federal contractors, all proceeding anonymously, filed their

 complaint challenging what they refer to as the “Federal COVID-19 vaccine

 mandate,” which includes the two EOs governing Federal employees and Federal

 contractors and the DoD directive governing members of the Armed Forces. Compl.

 ¶¶ 50–57, ECF No. 1.             Plaintiffs purport to bring a class action of “military

 servicemembers, civilian federal employees, and civilian federal contractors who have

 been denied religious exemption from the Federal COVID-19 Vaccine Mandate.” Id.

 ¶ 157. Plaintiffs allege that the “Federal COVID-19 vaccine mandate” violates: (1) the

 FDCA, 21 U.S.C. § 360bbb-3, id. ¶¶ 166–193; (2) the First Amendment, id. ¶¶ 194–

 211; and (3) RFRA, 42 U.S.C. § 2000bb-1, id. ¶¶ 212–234. Plaintiffs seek a nationwide

 injunction against the President and the military that would prevent implementation

 of the EOs and the DoD directive, require the government to grant all religious

 exemption requests, and prevent the government from taking any adverse action or

 discipline against service members, Federal employees, and Federal contractors. 5 Id.

 at 93–96; see also Pls.’ Mot., ECF No. 2.

                                     LEGAL STANDARDS

         “A preliminary injunction is an extraordinary remedy never awarded as of


 5
  Plaintiffs also sought a temporary restraining order for this same relief. In its October 18 Order, the
 Court stated that the motion for a temporary restraining order remains under advisement and directed
 Plaintiffs’ counsel to confer with defense counsel prior to seeking temporary injunctive relief for any
 individual Plaintiff. Order, ECF No. 9. As of November 3, 2021, Plaintiffs’ counsel has not done so.


                                                   10
Case 8:21-cv-02429-SDM-TGW Document 23 Filed 11/03/21 Page 11 of 41 PageID 482




 right.” Winter v. NRDC, Inc., 555 U.S. 7, 24 (2008). To justify this “drastic remedy,”

 the movants must “clearly establish[] the burden of persuasion” on the following four

 elements: (1) Plaintiffs have a substantial likelihood of success on the merits; (2) there

 is a substantial threat that Plaintiffs will suffer irreparable injury absent an injunction;

 (3) the threatened injury to Plaintiffs outweighs the damage an injunction would cause

 to Defendants; and (4) the injunction would not be adverse to the public interest.

 Davidoff & CIE, S.A. v. PLD Int’l Corp., 263 F.3d 1297, 1300 (11th Cir. 2001); Ga. Advoc.

 Off. v. Jackson, 4 F.4th 1200, 1208 (11th Cir. 2021); Schiavo ex rel. Schindler v. Schiavo,

 403 F.3d 1223, 1225 (11th Cir. 2005) (same standard for a temporary restraining

 order). “Failure to show any of the four factors is fatal[.]” ACLU of Fla., Inc. v. Miami-

 Dade Cty. Sch. Bd., 557 F.3d 1177, 1198 (11th Cir. 2009).

        Judicial review of claims involving the “complex, subtle, and professional

 decisions as to the composition, training, equipping, and control of a military force,”

 Gilligan v. Morgan, 413 U.S. 1, 10 (1973), is highly constrained. Rostker v. Goldberg, 453

 U.S. 57, 66 (1981) (Because of the “healthy deference to legislative and executive

 judgments in the area of military affairs,” courts employ a relaxed scrutiny in

 reviewing military policy.); Aktepe v. United States, 105 F.3d 1400, 1403 (11th Cir. 1997)

 (“[T]he political branches of government are accorded a particularly high degree of

 deference in the area of military affairs.”); see also Winck v. England, 327 F.3d 1296,

 1302–04 (11th Cir. 2003). Such deference extends to constitutional claims and military

 decisions about the health and welfare of the troops. E.g., Solorio v. United States, 483

 U.S. 435, 448 (1987); Mazares v. Dep’t of Navy, 302 F.3d 1382, 1385 (Fed. Cir. 2002).

                                             11
Case 8:21-cv-02429-SDM-TGW Document 23 Filed 11/03/21 Page 12 of 41 PageID 483




                                     ARGUMENT

 I.    Plaintiffs’ Anonymous Allegations Cannot Satisfy the Burden for a
       Preliminary Injunction.

       Plaintiffs’ Complaint is purportedly “verified” with the electronic signatures of

 pseudonymous Plaintiffs, and Plaintiffs filed two declarations from anonymous

 members of the Navy and the Coast Guard. See Compl., Decls., ECF Nos. 1-9, 1-10.

 But Plaintiffs have not alleged that any individual plaintiff wishes to keep his or her

 identity private, nor has anyone filed a motion to proceed anonymously or sought a

 protective order to keep their names under seal. See Doe v. Frank, 951 F.2d 320, 323–

 24 (11th Cir. 1992) (“Lawsuits are public events,” and courts permit plaintiffs to use

 fictitious names only in “exceptional cases.”). Plaintiffs have not identified themselves

 to Defendants, which inhibits Defendants from “contradict[ing] or explain[ing]

 assertions” in the Complaint and declarations. See KeyView Labs, Inc. v. Barger, 2020

 WL 8224618, at *6 (M.D. Fla. Dec. 22, 2020), report & recommendation adopted,

 2021 WL 510295 (Feb. 11, 2021). Moreover, Plaintiffs’ attempt to rely on statements

 by unnamed officers who purportedly told them their religious exemption requests

 were futile or that they would face certain consequences for seeking an exemption.

 See, e.g., Compl. ¶¶ 29, 31, 33; Decl. of Navy Chaplain ¶ 6, ECF No. 1-9; Decl. of

 Coast Guard Lieutenant ¶¶ 5, 12, ECF No. 1-10. But such “anonymous double

 hearsay” is “problematic,” “unreliable and of little persuasive value.” Advance Am. v.

 FDIC, 2017 WL 2672741, at *8 (D.D.C. Feb. 23, 2017) (plaintiffs could not establish

 a likelihood of success on the merits by relying on such evidence). By relying on


                                            12
Case 8:21-cv-02429-SDM-TGW Document 23 Filed 11/03/21 Page 13 of 41 PageID 484




 anonymous claims, Plaintiffs cannot “meet [their] high burden to obtain a preliminary

 injunction,” and the Court can deny Plaintiffs’ motion on this basis alone. KeyView

 Labs, 2020 WL 8224618 at *6, *13 (anonymous declaration insufficient to show a

 likelihood of success on the merits and irreparable harm, as the declaration “lack[s]

 probative value”) (citations omitted). And, as a practical matter, it is unclear how

 Defendants could comply with a preliminary injunction directing the Government not

 to take any adverse action against Plaintiffs without knowing their identities.

 II.   Plaintiffs Are Unlikely to Succeed on the Merits of Their Claims.

       The Court lacks jurisdiction over this case for several reasons, and the lack of

 jurisdiction forecloses any finding of substantial likelihood of success on the merits.

 See Digital Properties, Inc. v. City of Plantation, 121 F.3d 586, 591 n.5 (11th Cir. 1997).

 Plaintiffs’ challenge to the DoD mandate is not justiciable and not ripe because the

 service member Plaintiffs have not shown that they have completed the process for

 requesting exemptions. And the Court may not enter the requested relief against the

 President. Even if Plaintiffs could establish jurisdiction, they cannot show they are

 likely to succeed on the merits of any of their claims, which rest on factual and legal

 misconceptions about the President’s, DoD’s and FDA’s policies and decisions.

        A. Plaintiffs’ Challenge to the DoD Mandate Is Not Ripe.

        Plaintiffs’ as-applied challenges to military policies are not justiciable in the

 Eleventh Circuit. Speigner v. Alexander, 248 F.3d 1292 (11th Cir. 2001) (“doctrine of




                                             13
Case 8:21-cv-02429-SDM-TGW Document 23 Filed 11/03/21 Page 14 of 41 PageID 485




 nonjusticiability extends to cases for injunctive relief”); id. at 1297–98. 6 The Court

 thus lacks jurisdiction over any claim that the military incorrectly decided a religious

 exemption request. To the extent Plaintiffs raise facial challenges, this Court lacks

 jurisdiction over the service member Plaintiffs’ challenges because none of those

 Plaintiffs have exhausted available administrative remedies. See Elend v. Basham, 471

 F.3d 1199, 1205 (11th Cir. 2006) (noting that the ripeness doctrine is jurisdictional).

 Here, military Plaintiffs’ claims must be particularly scrutinized because the “military

 occup[ies] a unique position” with “specialized regulations and procedures, including

 military administrative procedures.” Frame v. United States, 2010 WL 883804, at *2

 (N.D. Fla. Mar. 5, 2010). “Until Plaintiff has received a decision from the military,

 judicial review of his claim, even if available, has not arisen.” Id. at *2.

        Military Plaintiffs with pending exemption requests do not have ripe claims

 because any harm from receiving the vaccine or facing adverse action rests “upon

 contingent future events that may not occur as anticipated, or indeed may not occur

 at all.” Nat’l Park Hosp. Ass’n v. Dep’t of Interior, 538 U.S. 803, 808 (2003). If the military

 grants the requests, the service members will be exempted from the COVID-19

 vaccination requirement, and while they wait for a determination, they are not subject

 to any adverse employment or disciplinary action. Ex. 17 ¶¶ 9 n.6, 14 n.12; Ex. 18 ¶¶



 6
   Plaintiffs’ reliance on Doe v. Rumsfeld is misplaced for many reasons, but especially because the Doe
 court explicitly declined to follow the Eleventh Circuit’s holding in Speigner that as-applied
 challenges to military regulations are not justiciable. 297 F. Supp. 2d 119, 126–27 (D.D.C. 2003).
 While a D.C. District Court is not bound by the Eleventh Circuit, Speigner binds this court. United
 States v. Sanders, 731 F. Supp. 2d 1261, 1267 (M.D. Fla. 2010). Plaintiffs’ as-applied claims are not
 justiciable in this Circuit.

                                                   14
Case 8:21-cv-02429-SDM-TGW Document 23 Filed 11/03/21 Page 15 of 41 PageID 486




 9 n.5, 12 n.8; Ex. 16 ¶¶ 8, 17, 24; Ex. 21 ¶ 13; Ex. 24 ¶¶ 10–11.

       Even if their exemption requests are denied, and the military Plaintiffs refuse to

 comply and face adverse action—a series of hypothetical, future events—the military

 has administrative appeal procedures that offer many opportunities for them to present

 their arguments and for their Service to respond. See Ex. 22 (Decl. of Elizabeth

 Hernandez) ¶¶ 3–14 (Air Force); Ex. 16 ¶¶ 21–23 (Army); Ex. 17 ¶¶ 15–22 (Navy); Ex.

 18 ¶¶ 14–21 (Marines); Ex. 24 ¶ 10 (Coast Guard). Until those military procedures are

 exhausted, the military Plaintiffs cannot seek relief in this court. Winck, 327 F.3d at

 1302 (“[O]ur respect for coordinate judicial systems and their autonomy, has led us,

 time and again, to require exhaustion in military cases.”) (cleaned up); Hodges v.

 Callaway, 499 F.2d 417, 420 (5th Cir. 1974) (“[T]his Court has firmly adhered to the

 rule that a plaintiff challenging an administrative military discharge will find the doors

 of the federal courthouse closed pending exhaustion of available administrative

 remedies.”); Doe v. Ball, 725 F. Supp. 1210, 1211 (M.D. Fla. 1989), aff’d sub nom. Doe

 v. Garrett, 903 F.2d 1455 (11th Cir. 1990) (requiring exhaustion of administrative

 remedies before bringing facial challenge to Navy’s HIV regulations); Shaw v. Austin,

 2021 WL 1840397, at *10 (D.D.C. May 1, 2021); Standage v. Braithwaite, WL 1060342,

 at *31 (D. Md. Mar. 18, 2021).

       The majority of military Plaintiffs allege that their religious exemption requests

 are still pending, and suit by those Plaintiffs is plainly premature. And as to the two

 military Plaintiffs who claim their religious exemption requests have been denied, the

 Plaintiffs have done so anonymously, Compl. ¶¶ 17, 30, and so have not met their

                                            15
Case 8:21-cv-02429-SDM-TGW Document 23 Filed 11/03/21 Page 16 of 41 PageID 487




 burden to show their claims are ripe. Palmer v. Braun, 155 F. Supp. 2d 1327, 1331

 (M.D. Fla. 2001) (“vague or conclusory affidavits are insufficient to satisfy the

 plaintiff's burden”). Anonymous Plaintiff Navy Seal 1, for example, claims that his

 request for a religious exemption was denied, and that “he was immediately removed

 from his position.” 7 Compl. ¶ 17. Given the processing times for religious requests,

 the available appeals, and the administrative processes for any adverse personnel

 action, it is unlikely that Navy Seal 1 has exhausted his military remedies and was

 discharged for failing to comply with the DoD mandate. 8 Ex. 17 ¶¶ 14–22. But

 Defendants cannot provide a record for this Court to review and can only speculate as

 to the veracity of these claims until Plaintiffs provide their identities. In this posture,

 no extraordinary preliminary injunctive relief could possibly be entered as to this

 Plaintiff.

        B. The Court Lacks Jurisdiction to Enter Relief Against the President.
        Plaintiffs’ remaining challenges also suffer from numerous jurisdictional

 defects. First, whatever claims Plaintiffs may pursue against the government officials

 who implement the President’s executive orders, see generally Made in the USA

 Foundation v. United States, 242 F.3d 1300, 1310–11 (11th Cir. 2001), neither

 declaratory nor injunctive relief is proper against the President in his official capacity—



 7
  To the extent that this allegation relates to a change in military duty assignment pending processing
 of Plaintiffs’ exemption request, it is non-justiciable. Orloff v. Willoughby, 345 U.S. 83, 94 (1953).
 8
  Lance Corporal 1 also claims his request was denied. Compl. ¶¶ 30, 41. Similarly, it is doubtful that
 he has exhausted available military remedies, but Defendants and this Court cannot know for sure,
 and Defendants cannot even produce a record for the Court’s review without knowing his identity.


                                                  16
Case 8:21-cv-02429-SDM-TGW Document 23 Filed 11/03/21 Page 17 of 41 PageID 488




 as another court recently recognized in rejecting a challenge to Executive Order No.

 14043, see Order, Foley v. Biden, No. 4:21-cv-01098-O (N.D. Tex. Oct. 6, 2021), ECF

 No. 18. “With regard to the President, courts do not have jurisdiction to enjoin him

 and have never submitted the President to declaratory relief.” Newdow v. Roberts, 603

 F.3d 1002, 1013 (D.C. Cir. 2010) (citations omitted); see Franklin v. Massachusetts, 505

 U.S. 788, 802–03 (1992) (“[I]n general this court has no jurisdiction of a bill to enjoin

 the President in the performance of his official duties.” (quotation marks omitted)).

        C. No Plaintiff Has Standing to Challenge the Executive Order Pertaining
           to Federal Employees.

        Plaintiffs’ challenge to the vaccination requirement for federal employees fails

 because none of the anonymous Plaintiffs alleges that he is a federal civilian

 employee. 9 Because no Plaintiffs are subject to EO 14043 or face any threat of having

 it applied to them, they lack standing to pursue any claim against it. See, e.g., California

 v. Texas, 141 S. Ct. 2104, 2114–16 (2021) (no standing where “there is no possible

 Government action that is causally connected to the plaintiffs’ injury”).

        D. No Plaintiff May Challenge the Federal Contractor Mandate.

        (i)    The Civilian Contractor Employees Have Not Pleaded Any Claim.

        The Court lacks jurisdiction over the civilian contractor employees’ challenge

 to Executive Order 14042 because none of those contractor employees has alleged that



 9
  The complaint describes one anonymous plaintiff as a “Civilian Nuclear Tech.” He does not allege
 that he is a government employee, however, and expressly alleges that he “requested a religious
 exemption and accommodation from Defendants’ COVID-19 vaccine mandate on federal civilian
 contractors.” Compl. ¶ 41 (emphasis added).


                                                17
Case 8:21-cv-02429-SDM-TGW Document 23 Filed 11/03/21 Page 18 of 41 PageID 489




 he is subject to the requirement of that order. As explained above, the EO generally

 applies to “new contracts,” EO 14042 § 6(a), as well as “extensions or renewals of

 existing contracts,” id.; see also Safer Federal Workforce Task Force: COVID-19

 Workplace Safety: Guidance for Federal Contractors and Subcontractors (Sept. 24,

 2021), at 11-12. For existing contracts, agencies are “strongly encouraged, to the

 extent permitted by law” ensure that safety protocols under those contracts are

 consistent with the requirements of the Executive Order, see EO 14042 § 6(c). But the

 EO is not self-effectuating and requires implementing action from each federal agency.

 See, e.g., U.S. Dep’t of Defense, Principal Director for Defense Pricing and Contracting

 Memorandum, https://perma.cc/4ZQW-Z2N3; U.S Dep’t of Energy, Planning for

 implementing EO 14042, https://perma.cc/D3WH-QZMV. Once the agencies take

 action to incorporate a vaccination requirement into qualifying existing and future

 contracts, contractors can then choose how to respond. So it is impossible to know

 whether any employees of a federal contractor are even subject to the requirements of

 EO 14042 without evidence of the nature of their employment or their employer’s

 contractual relationship with the government.

       None of the four contractor employees listed in the Complaint—identified as

 “Defense Department Contractor,” “Federal Civilian Engineer Contractor,” “Federal

 Nuclear Contractor Employer,” and “Department of Energy Civilian Nuclear

 Tech”—provides these details. See Compl. ¶¶ 37, 38, 40, 41. They do not provide the

 names of their respective employers or the details of any contract those employers

 might have with the federal government. And none of the federal civilian contractor

                                           18
Case 8:21-cv-02429-SDM-TGW Document 23 Filed 11/03/21 Page 19 of 41 PageID 490




 employee Plaintiffs alleges—let alone provides evidence sufficient to warrant

 extraordinary injunctive relief—that they perform work on a covered contract or in a

 covered workplace, or that their employer that has chosen to impose the requirements

 of the clause and require vaccination of its covered employees. Without any such

 allegations, Plaintiffs fail to state a plausible claim (much less show a likelihood of

 success on the merits). See, e.g., Clapper v. Amnesty Int’l, 568 U.S. 398, 409 (2013); see

 also, e.g., Palmer, 155 F. Supp. 2d at 1331 (“[A] plaintiff seeking a preliminary

 injunction must offer proof beyond unverified allegations in the pleadings.”). 10

         (ii)    The Federal Civilian Contractor Employer Fails To Plausibly Allege
                 Jurisdiction in this Court.

         The claims of the Plaintiff identified as Federal Civilian Contractor Employer

 (“FCCE”) are also jurisdictionally defective.                  According to the Complaint, this

 individual owns an engineering company that develops military weapons, and “would

 like to request a religious exemption” from COVID-19 vaccination requirements

 applicable to government contractors and to provide similar accommodations to his

 employees. Compl. ¶ 39. FCCE’s justification for bringing suit now is that he is



 10
   Department of Energy Civilian Nuclear Tech alleges that he submitted a religious exemption request
 and that the request was denied. Compl. ¶ 41. But the bare factual allegation that his employer denied
 his religious accommodation request does not establish either (1) that any vaccination requirement
 imposed by his employer was due the requirements of EO 14042, rather than some independent
 reason; or (2) that his recourse would be with the federal government instead of the employer that
 denied the request. See Contractor FAQs (the federal “contractor is responsible for considering, and
 dispositioning, such requests for accommodations”). To the contrary, if this individual’s employer
 wrongfully denied him an exception to which he is entitled by law, it is apparent that this injury would
 flow from the employer, not the Federal government. See, e.g., Walters v. Winter, 2008 WL 11342801,
 at *1 (N.D. Fla. July 13, 2008) (as a general matter, a “federal agency is not subject to Title VII liability
 for discrimination against employees of an independent contractor”).


                                                     19
Case 8:21-cv-02429-SDM-TGW Document 23 Filed 11/03/21 Page 20 of 41 PageID 491




 worried that he “faces termination of his current government contracts and

 disqualification from future contracts.” Id. ¶ 111.

        At the outset, this claim is vague and speculative, so it fails for the same reasons

 as the claims of the contractor employees discussed above.                    FCCE provides no

 information about his contract with the federal government—its duration, whether or

 when it is coming due for renewal, whether there are options to extend it, whether any

 contracting agency has communicated with him about the COVID-19 workplace

 safety clause, etc.—and so it is impossible to assess whether any potential injury is

 certainly impending. There is no way to know whether FCCE has sued the right

 defendant, because he does not identify the agency with whom he has a contract. Nor

 does FCCE explain why he thinks the EO would preclude him from providing his

 employees accommodations to which they are legally entitled. See supra Section C. 11

        Regardless, FCCE’s claim rests on speculation about two hypothetical injuries:

 either that (1) his existing contracts might be terminated, or (2) he might be rendered

 ineligible for future contracts. This Court lacks jurisdiction to resolve either claim.

        First, to the extent that FCCE is concerned that the government will terminate

 existing contracts, his exclusive remedy would arise under the Contract Disputes Act

 (“CDA”), which “applies to any express or implied contract entered into by an

 executive agency for the procurement of property, services, construction, repair, or the



 11
    Insofar as FCCE refers to an individual rather than his company, it is also unclear that the right
 plaintiff has joined this action. A “basic tenet of American corporate law is that the corporation and
 its shareholders are distinct entities.” Dole Food Co. v. Patrickson, 538 U.S. 468, 474 (2003).


                                                  20
Case 8:21-cv-02429-SDM-TGW Document 23 Filed 11/03/21 Page 21 of 41 PageID 492




 disposal of personal property.” Anselma Crossing, L.P. v. USPS, 637 F.3d, 238, 240 (3d

 Cir. 2011). The CDA provides the exclusive scheme for resolution of any dispute

 concerning a government contract. Actions under the CDA can be brought only to

 the Court of Federal Claims or an agency board of contract appeals. See 28 U.S.C. §

 1346(a)(2); 41 U.S.C. § 7105(e); see also 28 U.S.C. § 1491(a)(2); Texas Health Choice,

 L.C. v. OPM, 400 F.3d 895, 898-99 (Fed. Cir. 2005).

        Second, to the extent FCCE is asserting a claim that he would not meet the

 solicitation requirements for any new contracts with a COVID clause, only the Court

 of Federal Claims would have jurisdiction over such an action.                        See 28 U.S.C.

 § 1491(b); Distributed Sol’ns, Inc. v. United States, 539 F.3d 1340, 1345 (Fed. Cir. 2008). 12

 FCCE’s claims—all of which fundamentally relate to a hypothetical future contractual

 dispute with the government—are not cognizable in district court.

        E. The Vaccine Mandates Do Not Violate Informed Consent Requirements.

         On the merits, Plaintiffs’ challenges to the DoD mandate and the Executive

 Orders all fail.       The military Plaintiffs’ statutory challenge to the COVID-19

 inoculation requirement is premised on the mistaken belief that DoD is requiring

 service members to receive vaccines that have not been approved by FDA as safe and




 12
   The text of 28 U.S.C. § 1491(b) suggests that district courts and the Court of Federal Claims have
 concurrent jurisdiction over these matters. But as the Federal Circuit recognized, the Alternative
 Dispute Resolution Act of 1996 included a “sunset provision, which terminated federal district court
 jurisdiction over bid protests on January 1, 2001.” Emery Worldwide Airlines, Inc. v. United States, 264
 F.3d 1071, 1080 (Fed. Cir. 2001). As a result, there is “no longer . . . APA-based jurisdiction for the
 district courts in government bid protest cases.” Novell, Inc. v. United States, 109 F. Supp. 2d 22, 24
 (D.D.C. 2000); Aeolus Sys., LLC v. SBA, 2007 WL 1525700, at *1 (M.D. Fla. May 22, 2007).


                                                   21
Case 8:21-cv-02429-SDM-TGW Document 23 Filed 11/03/21 Page 22 of 41 PageID 493




 effective for their intended use against COVID-19. That is not correct: DoD’s

 mandate can be satisfied by using an FDA-approved COVID-19 vaccine. Plaintiffs’

 challenge to the contractor mandate also rests on factual and legal misconceptions.

       (i)    The FDCA Does Not Include a Private Right of Action.

       As an initial matter, the Court need not consider Plaintiffs’ arguments because

 they have not identified a proper cause of action. Plaintiffs purport to challenge the

 DoD vaccine mandate and the EOs under the FDCA itself, see Compl. Count 1, but

 the FDCA contains neither a waiver of sovereign immunity nor a cause of action for

 these Plaintiffs. See, e.g., Doe v. Franklin Square Union Free Sch. Dist., 2021 WL 4957893,

 at *20 (E.D.N.Y. Oct. 26, 2021); Bridges v. Houston Methodist Hosp., 2021 WL 2399994,

 at *2 (S.D. Tex. June 12, 2021), appeal docketed, No. 21-20311 (5th Cir. June 14,

 2021). To the contrary, the FDCA retains exclusive enforcement authority to the

 United States, with one limited exception for enforcement by State governments. 21

 U.S.C. § 337(a); see Guilfoyle v. Beutner, 2021 WL 4594780, at *26-27 (C.D. Cal. Sept.

 14, 2021) (dismissing a claim under 21 U.S.C. § 360bbb-3 on this basis). Plaintiffs

 assert no other claim and thus cannot show a likelihood of success.

       (ii)   DoD Has Not Violated Informed Consent Requirements.

       Congress has given the Secretary of Defense and the Services wide latitude to

 establish a vaccination program for the welfare of the troops. See 10 U.S.C. §§ 113(b),

 7013 (b)(9), 8013 (b)(9), 9013 (b)(9); Ex. 4. To be sure, 10 U.S.C. § 1107a places

 conditions on that authority—in particular, by requiring a presidential waiver of a

 notification requirement—if the military seeks to require service members to take

                                             22
Case 8:21-cv-02429-SDM-TGW Document 23 Filed 11/03/21 Page 23 of 41 PageID 494




 products authorized only for “emergency use.” That condition, however, does not

 preclude any such vaccination requirement and, in any event, DoD’s directive does

 not implicate that provision because, as the Secretary’s memorandum makes clear,

 “Mandatory vaccination against COVID-19 will only use COVID-19 vaccines that

 receive full licensure . . . in accordance with FDA-approved labeling and guidance.”

 Ex. 2. Implementation guidance from the Services contain similar provisions. See Ex.

 6 ¶ 3.D.8.A; Ex. 7 (ALNAV 062/21) ¶ 3; Ex. 8 ¶ 2; Ex. 9 ¶ 3.b; Ex. 11 ¶ 3.1.1. 13￼ The

 licensed vaccine is in fact available to these Plaintiffs. On August 23, 2021, FDA fully

 licensed Pfizer’s vaccine as safe and effective for use to prevent COVID-19 in

 individuals 16 years of age and older. Ex. 13 ¶ 6. According to FDA, vaccines

 produced at facilities listed in the Biologics License Application (BLA) that Pfizer

 submitted to obtain full approval 14￼ In addition, FDA determined that “[t]he licensed

 vaccine has the same formulation as the EUA-authorized vaccine and the products


 13
    Plaintiffs mistakenly cite 10 U.S.C. § 1107, which concerns “investigational new drug[s]” and
 “drug[s] unapproved for [their] applied use”; service members may not be required to take those drugs
 unless certain procedures are followed. 10 U.S.C. § 1107(a), (g); see also 21 U.S.C. § 355(i) (defining
 investigational new drugs as those used in clinical trials); Gallagher v. FDA, 2019 WL 6312008, at *2
 (D.D.C. Nov. 25, 2019); Ex. 13 ¶ 7 n.2. DoD’s directive does not implicate this provision, as none of
 the COVID-19 vaccines provided to service members are provided as investigational new drugs in the
 context of clinical trials or drugs unapproved for their applied use. See Ex. 13 ¶¶ 7, 7 n.2; see also Doe
 v. Rumsfeld, 297 F. Supp. 2d 119, 132 (D.D.C. 2003) (“Title 10 U.S.C. § 1107 and the attendant DoD
 regulation apply only if the FDA determines that [the vaccine] is an investigational drug or a drug
 unapproved for its present purpose.”).
 14
   FDA has recognized that these vaccines are BLA-compliant, even if they bear the EUA label on the
 vial. Ex. 13 ¶ 13 (“[The] conditions in the Letter of Authorization for the EUA—including the
 condition requiring vaccination providers to provide recipients with the Fact Sheet for Recipients,
 which advises recipients that ‘under the EUA, it is your choice to receive or not receive the vaccine’—
 do not apply when these lots or other BLA-compliant lots are used for the approved indication”). “As
 of October 16, 2021, the DoD has in its possession hundreds of thousands of BLA-compliant vaccine
 doses that are EUA-labeled, and is using them.” Ex. 14 ¶ 18.



                                                    23
Case 8:21-cv-02429-SDM-TGW Document 23 Filed 11/03/21 Page 24 of 41 PageID 495




 can be used interchangeably to provide the vaccination series without presenting any

 safety or effectiveness concerns.” Ex. 13 ¶ 9. DoD relied on this determination to

 instruct its health care providers.          Ex. 3 (Acting Assistant Secretary of Defense

 Memorandum).          In other words, numerous Pfizer-produced vaccine doses have

 received full FDA licensing.

        Plaintiffs’ contrary arguments rest on the incorrect claim that there are no FDA-

 approved vaccine doses “available in the United States.” Pls.’ Mot. 7. But in fact,

 DoD has a supply of the BLA-compliant vaccine, which Plaintiffs could use to become

 vaccinated. Ex. 14 (Decl. of Colonel Tonya Rans) ¶ 18. 15 Because the DoD directive

 can be satisfied by use of a vaccine that FDA has licensed as safe and effective for its

 intended use, Plaintiffs do not have a likelihood of success on the merits of their

 informed consent claim. See Norris v. Stanley, 2021 WL 3891615, at *2 (W.D. Mich.

 Aug. 31, 2021) (no likelihood of success on EUA claim because it “would be moot” if

 offered the FDA-approved vaccine); Valdez v. Grisham, WL 4145746, at *4 (D.N.M.

 Sept. 13, 2021) (rejecting claim that state vaccine mandate violated the EUA statute

 because “the FDA has now given its full approval – not just emergency use

 authorization – to the Pfizer vaccine”).


 15
   Plaintiffs argue that FDA must have found that there was no Comirnaty available to continue the
 EUA for the Pfizer vaccine. See Pls.’ Mot. 7-8. That is inaccurate. First, even though FDA approved
 Comirnaty, the agency found that there remains “no adequate, approved, and available alternative”
 to the EUA vaccines (including Pfizer’s) because (1) there is not sufficient approved vaccine available
 for the adult population; and (2) there are not products that are approved for other uses. Ex. 13 ¶¶ 7–
 9 & Exs. B, C. Second, even if the Comirnaty vaccine were an “adequate, approved, and available
 alternative” to the EUA vaccines, nothing in 21 U.S.C. § 360bbb-3 requires FDA to revoke existing
 EUAs. See 21 U.S.C. § 360bbb-3(g)(2). The statute contemplates that an EUA could continue after
 an approval of an equivalent product, even if the equivalent product is “available.”


                                                   24
Case 8:21-cv-02429-SDM-TGW Document 23 Filed 11/03/21 Page 25 of 41 PageID 496




       (iii)   The Civilian Contractor Mandate Does Not Violate the EUA Statute.
       To the extent Plaintiffs argue that EO 14042 violates the EUA statute, that claim

 also fails. First, any claim related to EUA-only vaccines is moot because—as just

 explained—FDA approved the Pfizer vaccine for use in adults. See Marks Decl. ¶ 13.

 Affected contractors may use any of the COVID vaccines, including the FDA-

 approved vaccine. See supra pp. 8-10, 23-24. Second, Plaintiffs’ reading of the EUA

 statute is incorrect because the law does not prohibit public or private entities from

 requiring vaccination as a condition of a contract.           By its terms, section

 564(e)(1)(A)(ii)(III) directs only that potential vaccine recipients be “informed” of

 certain information, including “the option to accept or refuse administration of the

 product.” 21 U.S.C. § 360bbb-3(e)(1)(A)(ii)(III). FDA implemented this provision by

 requiring that potential vaccine recipients receive a Fact Sheet informing them that

 they have a “choice to receive or not receive” the vaccine. See, e.g., FDA, Moderna

 Fact Sheet for Recipients and Caregivers at 4 (revised Oct. 20, 2021),

 https://www.fda.gov/media/144638/download. That is all that the EUA statute

 requires. As numerous courts have held, this informed-consent requirement does not

 prevent any entity (including the government) from imposing workplace discipline, up

 to and including termination, for those who choose not to receive an EUA vaccine. See

 Valdez v. Grisham, 2021 WL 4145746, at *4 (D.N.M. Sept. 13, 2021); Norris v. Stanley,

 2021 WL 4738827, at *3 (W.D. Mich. Oct. 8, 2021); Johnson v. Brown, 2021 WL

 4846060, at *18 (D. Or. Oct. 18, 2021); Pelekai v. Hawaii, 2021 WL 4944804, at *6 n.9

 (D. Haw. Oct. 22, 2021); Bridges v. Houston Methodist Hosp., 2021 WL 2399994, at *1–

                                          25
Case 8:21-cv-02429-SDM-TGW Document 23 Filed 11/03/21 Page 26 of 41 PageID 497




 2; see generally U.S. Dep’t of Justice, Office of Legal Counsel, Whether Section 564 of

 the FDCA Prohibits Entities from Requiring the Use of a Vaccine Subject to an

 Emergency Use Authorization, 45 Op. O.L.C. __, 2021 WL 3418599 (July 6, 2021).

        (iv)    The Court Lacks Jurisdiction Over a Challenge to the Emergency
                Declaration or EUA.

        To the extent that Plaintiffs seek to challenge FDA’s EUA itself, that challenge

 is fundamentally misconceived. See Pls.’ Mot. 3–7. As an initial matter, Plaintiffs

 have not sued the FDA, and so there is no proper defendant in this action for such a

 claim. And even if Plaintiffs had sued FDA, they could not challenge the EUA or the

 underlying emergency declaration because the EUA statute explicitly states that

 FDA’s “[a]ctions under the authority of this section . . . are committed to agency

 discretion.” 21 U.S.C. § 360bbb-3(i); Ass’n of Am. Physicians & Surgeons v. FDA, 2020

 WL 5745974, at *3 (6th Cir. Sept. 24, 2020) (holding that EUAs are unreviewable); see

 also 5 U.S.C. § 701(a)(2) (agency action is unreviewable under the APA when it “is

 committed to agency discretion by law”). Even if review of the issuance of the EUAs

 were relevant to Plaintiffs’ claims, the Court would lack jurisdiction. 16



 16
    In any event, both the Emergency Declaration and the EUAs are clearly proper under the statutory
 standards. The February and March 2020 public health emergency determinations satisfy the
 standards for an emergency declaration under 21 U.S. Code § 360bbb–3(b)(1)(C) because they find a
 “public health emergency” that affects “national security or the health and security of United States
 citizens living abroad” that involves a “biological” agent – the novel coronavirus – and a disease
 caused by the coronavirus – COVID-19. See Determination of Public Health Emergency, 85 Fed.
 Reg. 7316, 7317 (Feb. 7, 2020); Emergency Use Authorization Declaration, 85 Fed. Reg. 18,250,
 18,250–51 (Apr. 1, 2020). FDA has authorized three COVID-19 vaccines pursuant to EUAs, based
 on FDA’s review of extensive safety and efficacy data. See, e.g., Marks Decl. Exs. B, C; see also
 https://perma.cc/5FWS-RJ5L.



                                                  26
Case 8:21-cv-02429-SDM-TGW Document 23 Filed 11/03/21 Page 27 of 41 PageID 498




        F. Plaintiffs’ First Amendment and RFRA Claims Are Unlikely To
           Succeed.
        Plaintiffs’ facial challenges to the DoD mandate under the First Amendment

 and RFRA are premised on incorrect facts and are otherwise meritless. 17 Plaintiffs

 claim that the military is “Prohibiting Religious Exemptions.” Pls.’ Mot. 11; see also

 id. at 14 (claiming DoD is “excluding religious exemptions” and arguing “prohibiting

 religious exemptions is unconstitutional”); Compl. ¶ 198. That is not correct. The

 military has a process to consider religious exemptions and is doing so. See Ex. 21,

 ¶¶ 3–13; Ex. 16, ¶¶ 14–20; Ex. 17 ¶ 14; Ex. 24, ¶ 10. Plaintiffs themselves have sought

 religious exemptions. Compl. ¶¶ 98–108. And nowhere in Plaintiffs’ complaint or

 motion do they raise a facial challenge to any part of the existing military policies for

 considering religious accommodations.

        To the extent Plaintiffs instead raise as-applied challenges by claiming that the

 military has wrongfully denied a religious exemption request (or might deny one in

 the future), that type of individualized, as-applied challenge to military regulations is

 not justiciable in the Eleventh Circuit. Speigner, 248 F.3d at 1297–98. And even if it

 were, anonymous declarations are not enough to show ripeness or a likelihood of

 success on the merits. Anonymous claims are not enough to show that the mandate

 substantially burdens the exercise of Plaintiff’s religion. For one thing, “[t]o qualify



 17
   The non-military Plaintiffs cannot challenge the government employee mandate under the First
 Amendment or RFRA. See supra, Section II.C. No Plaintiff is a federal employee. See id. And the
 anonymous government contractors and contractor employer cannot bring their claims against the
 Government in this forum. See supra, Section I.


                                               27
Case 8:21-cv-02429-SDM-TGW Document 23 Filed 11/03/21 Page 28 of 41 PageID 499




 for RFRA’s protection, an asserted belief must be ‘sincere’; a [plaintiff’s] pretextual

 assertion of a religious belief in order to obtain an exemption . . . would fail.” Burwell

 v. Hobby Lobby Stores, Inc., 573 U.S. 682, 717, n.28 (2014). Until the Defendants and

 this Court can check their claims, “[n]either the government nor the court has to accept

 the [plaintiffs’] mere say-so.” United States v. Bauer, 84 F.3d 1549, 1559 (9th Cir. 1996).

 Also, because Plaintiffs have not provided their identities, Defendants do not know

 the status of each Plaintiff’s request or whether they have exhausted available appeals.

        Even if their claims were justiciable and the mandate did substantially burden a

 military Plaintiff’s exercise of religion, their as-applied RFRA claim would likely still

 fail because the Government has a compelling interest and mandatory vaccinations

 are, at least in some circumstances, the least restrictive means to further that interest.

 This inquiry focuses on the “application of the challenged law ‘to the person’—the

 particular claimant whose sincere exercise of religion is being substantially burdened.”

 Hobby Lobby, 573 U.S. at 726. But neither Defendants nor the Court know who the

 Plaintiffs are or the details of their roles, making it impossible to conduct the required

 analysis—and thus impossible for Plaintiffs to meet their burden for an injunction.

        Plaintiffs argue that the military does not have a compelling interest in

 mandating the COVID-19 vaccine mandate.             Mot. at 16.     But that position is

 untenable. The Supreme Court has held that “[s]temming the spread of COVID–19 is

 unquestionably a compelling interest.” Roman Cath. Diocese of Brooklyn v. Cuomo, 141

 S. Ct. 63, 67 (2020). And “when evaluating whether military needs justify a particular

 restriction on religiously motivated conduct, courts must give great deference to the

                                             28
Case 8:21-cv-02429-SDM-TGW Document 23 Filed 11/03/21 Page 29 of 41 PageID 500




 professional judgment of military authorities concerning the relative importance of a

 particular military interest.” Goldman v. Weinberger, 475 U.S. 503, 507 (1986). In

 Goldman, for example, the Supreme Court held that the military can prohibit religious

 attire in a hospital based only on an interest in uniformity, id., so here it can certainly

 require vaccines to promote military readiness and preventing disease.

        Similarly, without any verifiable facts to back up their unripe, non-justiciable

 claims, Plaintiffs are left to argue in the abstract that there can be no circumstances

 where requiring vaccinations could be the least restrictive means of serving a

 compelling interest. Here again, numerous courts have found, in non-military settings,

 that preventing infectious diseases through vaccines was the least restrictive means.

 See F.F. on behalf of Y.F. v. State, 65 Misc. 3d 616, 633, (N.Y. Sup. Ct. 2019); Brown v.

 Smith, 24 Cal. App. 5th 1135, 1145; Love v. State Dep’t of Educ., 29 Cal. App. 5th 980,

 996 (2018); see also D.J. v. Mercer Cty. Bd. of Educ., No. 13-0237, 2013 WL 6152363, at

 *4 (W. Va. Nov. 22, 2013). This reasoning has even greater force in the military

 setting, where health is paramount to military readiness.

        In all events, any judicial review should wait until after the military decides

 whether to grant an individual Plaintiff’s request for accommodation and review any

 remaining RFRA claim after available appeals have been exhausted. In deciding a

 service member’s request for an accommodation in the first instances, the military

 analyzes each request based on facts unique to the service member, their military

 duties, the risk they might pose to the military’s mission, and the potential impacts on

 military readiness. See e.g., AFPD 52-2, §§ 1.2, 1.3, and 1.4; MILPERSMAN 1730-

                                             29
Case 8:21-cv-02429-SDM-TGW Document 23 Filed 11/03/21 Page 30 of 41 PageID 501




 020. If the service member is dissatisfied with the military’s decision, that service

 member may seek judicial review only after exhausting military appeals, allowing the

 military to make its decision and fully articulate its interests. Winck, 327 F.3d at 1302–

 04 (“[W]e reaffirm the unflagging strength of the principles of comity and judicial

 noninterference with, and respect for, military operations.”).

        The military is best situated to assess whether a specific unvaccinated individual

 puts the military mission at risk, or whether feasible, less restrictive alternatives are

 available. See Orloff, 345 U.S. at 94 (“Orderly government requires that the judiciary

 be as scrupulous not to interfere with legitimate Army matters as the Army must be

 scrupulous not to intervene in in judicial matters.”). After all, “the Supreme Court has

 indicated” that “military decisions and assessments of morale, discipline, and unit

 cohesion . . . are well beyond the competence of judges.” Bryant v. Gates, 532 F.3d 888,

 899 (D.C. Cir. 2008) (Kavanaugh, J., concurring).

 III.   Plaintiffs Do Not Face Irreparable Harm.

        “[E]ven if Plaintiffs establish a likelihood of success on the merits, the absence

 of a substantial likelihood of irreparable injury would, standing alone, make

 preliminary injunctive relief improper.” Siegel v. LePore, 234 F.3d 1163, 1176 (11th

 Cir. 2000) (citations omitted).     Irreparable harm “must be neither remote nor

 speculative, but actual and imminent.” Ne. Fla. Chapter of Ass’n of Gen. Contractors v.

 City of Jacksonville, Fla., 896 F.2d 1283, 1285 (11th Cir. 1990). “Mere injuries, however

 substantial, in terms of money, time and energy necessarily expended in the absence

 of a stay, are not enough.” Id. (quoting Sampson v. Murray, 415 U.S. 61, 90 (1974)).

                                            30
Case 8:21-cv-02429-SDM-TGW Document 23 Filed 11/03/21 Page 31 of 41 PageID 502




 “The possibility that adequate compensatory or other corrective relief will be available

 at a later date, in the ordinary course of litigation, weighs heavily against a claim of

 irreparable harm.” Sampson, 415 U.S. at 90. “In cases involving claims related to

 military personnel decisions, moreover, courts have held that the showing of

 irreparable harm must be especially strong before an injunction is warranted, given the

 national security interests weighing against judicial intervention in military affairs.”

 Shaw, 2021 WL 1840397, at *9. Plaintiffs make no such showing.

       As an initial matter, because no Plaintiff is subject to the Executive Order

 governing Federal employees, no Plaintiff can show any harm from that order.

       As to the remaining policies, Plaintiffs contend that they are irreparably harmed

 because they face the choice between taking the vaccine or facing dishonorable

 discharge from the military or termination of their employment or contracts. Pls.’

 Mot. 22. But at least three other courts have found that facing a choice among taking

 a vaccine, obtaining an exemption, and facing adverse employment consequences is

 not irreparable harm. See Beckerich v. St. Elizabeth Med. Ctr., 2021 WL 4398027, at *7

 (E.D. Ky. Sept. 24, 2021); Harsman v. Cincinnati Children’s Hosp. Med. Ctr., 2021 WL

 4504245, at *4 (S.D. Ohio Sept. 30, 2021); Bauer v. Summey, 2021 WL 4900922, at *18

 (D.S.C. Oct. 21, 2021). As those courts and numerous others have recognized, job

 loss is not irreparable because a discharged employee may, if successful on his claims,

 obtain reinstatement and back pay. See Sampson, 415 U.S. at 92 n.68. Courts have

 thus specifically applied Sampson to find that loss of employment due to refusal to

 comply with a vaccine mandate does not constitute irreparable harm. See, e.g., Wise v.

                                           31
Case 8:21-cv-02429-SDM-TGW Document 23 Filed 11/03/21 Page 32 of 41 PageID 503




 Inslee, 2021 WL 4951571, at *6 (E.D. Wash. Oct. 25, 2021); Mass. Correction Officers

 Federated Union v. Baker, 2021 WL 4822154, at *7 (D. Mass. Oct. 15, 2021); Johnson v.

 Brown, 2021 WL 4846060, at *23–25 (D. Or. Oct. 18, 2021). Courts have made such

 a finding even when, as here, see Pls.’ Mot. 22–23, the plaintiff claims that the vaccine

 policy violates their constitutional rights, see, e.g., Norris, 2021 WL 3891615, at *2–3.

 Nor is a loss of a contract an irreparable harm. See Ne. Fla., 896 F.2d at 1286. And

 although Plaintiffs allege that “[s]ome civilian contractors perform such specialized

 services for the military and other federal departments that there is no other market for

 them to pursue,” Pls.’ Mot. 23, they do not support that statement with a citation. In

 any event, “difficulties in immediately obtaining other employment . . . will not

 support a finding of irreparable injury, however severely they may affect a particular

 individual.” Sampson, 415 U.S. at 92 n.68; Bedrossian v. Nw. Mem’l Hosp., 409 F.3d

 840, 846 (7th Cir. 2005) (“[I]nability to find another job. . . is not irreparable harm.”).

        The service member Plaintiffs also argue they will suffer from irreparable harm

 from the “threat of dishonorable discharge.”               Pls.’ Mot. 23.       But, as Plaintiffs

 themselves acknowledge by the use of the word “threat,” id., it is entirely speculative

 that they will be discharged from the military, let alone dishonorably. If a service

 member refuses to take the vaccine, and they do not have a valid exemption, they may

 be subject to a “range of administrative and disciplinary actions.” 18 Ex. 7 ¶ 5. A


 18
   Plaintiffs do not appear to argue that any other administrative or disciplinary action taken against
 service members, including separation from service, is irreparable. Nor could they, as courts have
 consistently rejected such arguments. See, e.g., McCurdy v. Zuckert, 359 F.2d 491 (5th Cir. 1966);


                                                  32
Case 8:21-cv-02429-SDM-TGW Document 23 Filed 11/03/21 Page 33 of 41 PageID 504




 service member would only be dishonorably discharged as a result of being found

 guilty at a court-martial, which can take months. 19 See Ex. 17 ¶ 20. And service

 members can argue that the DoD directive is not a lawful order as part of their defense

 in a court martial proceeding. See United States v. Sterling, 75 M.J. 407, 415-16

 (C.A.A.F. 2016) (ability to raise “a prima facie RFRA defense”). Thus, a dishonorable

 discharge cannot be considered certain or imminent. See Shaw, 2021 WL 1840397, at

 *10 (speculative that sailor faces harm where administrative procedures incomplete).

         The service members and Defense Department Contractor who have pending

 exemption requests likewise cannot establish irreparable harm, as they suffer no harm

 while their requests are pending, see, e.g., Ex. 16 ¶¶ 8, 17, 24, and if their requests are

 granted they will not face any adverse consequences from the vaccine mandate, see

 Pelekai, 2021 WL 4944804, at *1 (finding no injury where plaintiffs’ religious

 exemption requests were granted); Williams v. Brown, 2021 WL 4894264 *10 (D. Or.

 Oct. 19, 2021) (finding no irreparable harm when exemption requests were pending);

 Burcham v. City of Los Angeles, 2021 WL 5049099, at *4 (C.D. Cal. Oct. 27, 2021)

 (same). 20    And two Plaintiffs, Coast Guard Lieutenant and Technical Sergeant,



 Hartikka v. United States, 754 F.2d 1516, 1518 (9th Cir. 1985); Chilcott v. Orr, 747 F.2d 29, 34 (1st Cir.
 1984); Guerra v. Scruggs, 942 F.2d 270, 274 (4th Cir. 1991).
 19
   Simply being subject to court martial is not irreparable injury. See Schlesinger v. Councilman, 420 U.S.
 738, 755 (1975); Hall v. McHugh, 2010 WL 596499, at *2 n.4 (S.D. Ga. Feb. 17, 2010).
 20
   For two service member plaintiffs, Marine Corps Captain and Air Force Major, and two contractors,
 Federal Civilian Engineer Contractor, and Federal Nuclear Contractor Employee, it is unclear
 whether they have submitted religious exemption requests even though they claim to have religious
 objections to the vaccine. Compl. ¶¶ 28, 32, 38, 40. Plaintiff Navy Senior Chief Petty Officer also
 claims that he qualifies for a medical exemption but has not submitted an exemption request. Id. ¶ 20.


                                                    33
Case 8:21-cv-02429-SDM-TGW Document 23 Filed 11/03/21 Page 34 of 41 PageID 505




 currently have temporary medical exemptions, so they cannot show any imminent

 harm from the DoD directive. See Compl. ¶¶ 34, 36.

        Plaintiffs also argue that they face imminent, irreparable harm because the

 vaccines are not safe. Pls.’ Mot. 22–23. This allegation of irreparable harm assumes

 that they would be forced to take the vaccine, and thereby suffer any irreparable ill

 effects from the vaccine. But that is not the case. See Ex. 6 ¶ 3.D.8.B.4 (“There will

 be no involuntary (forcible) immunizations.”); Ex. 16 ¶¶ 6, 8, 17; Ex. 17 ¶ 3 n.2; Ex.

 18 ¶ 4 n.2. The vaccine (and any alleged attendant harm from it) would not be forced

 on them, and any adverse employment consequences for declining to be vaccinated (if

 imposed) are not irreparable nor warrant preliminary injunctive relief.

        Moreover, their contention that the vaccine itself would, if taken, cause

 irreparable harm is not supported by credible evidence. As another court stated,

 “[t]heir contention that they will be uniquely harmed from vaccines that, according to

 the CDC, more than 200 million people had received by the time Plaintiffs’ Motion

 was filed, is specious.” Order at 5, Robert v. Austin, No. 1:21-cv-02228 (D. Colo. Sept.

 1, 2021), ECF No. 12; Wise, 2021 WL 4951571, at *3 (finding “overwhelming

 evidence that the vaccines are safe and effective”). Indeed, two courts have rejected

 the opinions by Plaintiffs’ purported expert, Dr. Peter McCullough, on this issue. See



 Those Plaintiffs cannot establish irreparable harm because they could seek an exemption and it might
 be granted. See Contech Casting, LLC v. ZF Steering Sys., LLC, 931 F. Supp. 2d 809, 818 (E.D. Mich.
 2013) (“[I]rreparable harm will not be found where alternatives already available to the plaintiff make
 an injunction unnecessary.”).



                                                   34
Case 8:21-cv-02429-SDM-TGW Document 23 Filed 11/03/21 Page 35 of 41 PageID 506




 Harris v. Univ. of Mass., Lowell, 2021 WL 3848012, at *3 n.5 (D. Mass. Aug. 27, 2021);

 Klaassen v. Trs. of Ind. Univ., 2021 WL 3073926, at *28–32 (N.D. Ind. July 18, 2021).

 Although Plaintiffs point to a DoD study finding that 23 patients had myocarditis 21

 following an mRNA COVID-19 vaccination, see Pls.’ Mot. 22–23, they ignore that the

 study also stated that COVID-19 infection itself carries a “risk of cardiac injury” and

 that the authors concluded that “[c]oncerns about rare adverse events following

 immunization should not diminish overall confidence in the value of vaccination.”

 Montgomery, Jay, et al., Myocarditis Following Immunization With mRNA COVID-19

 Vaccines in Members of the US Military, JAMA Cardiology 2021;6(10):1202–06 (June 29,

 2021). The FDA specifically considered the risk of myocarditis, finding that the

 predicted benefits of avoiding impacts associated with COVID-19 clearly outweighed

 the predicted risks associated with myocarditis. See Ex. 13, Ex. D at 23–24.

        Finally, Plaintiffs argue that “[s]ome military chaplains fear the pressure, abuse,

 and threats [that] will increase the risk of suicide.” Pls.’ Mot. 23. But this argument

 is based entirely on speculation and cannot establish a basis for emergency injunctive

 relief. See Fails v. Sec’y, Dep’t of Corr., 2013 WL 6068859, at *3 (N.D. Fla. Nov. 16,

 2013) (rejecting a claim of irreparable harm based in part on “speculation that the



 21
   “Myocarditis is inflammation of the heart muscle” and is “the body’s immune system caus[ing]
 inflammation in response to an infection or some other trigger.” CDC, Myocarditis and Pericarditis After
 mRNA COVID-19 Vaccination (Sept. 8, 2021), available at https://www.cdc.gov/coronavirus/2019-
 ncov/vaccines/safety/myocarditis.html. “COVID-19 is a strong and significant risk factor for
 myocarditis.” Boehmer T., et al., Association Between COVID-19 and Myocarditis Using Hospital-Based
 Administrative Data — United States, March 2020–January 2021, MMWR Morb Mortal Wkly Rep
 2021;70:1228–1232, available at https://www.cdc.gov/mmwr/volumes/70/wr/mm7035e5.htm.


                                                   35
Case 8:21-cv-02429-SDM-TGW Document 23 Filed 11/03/21 Page 36 of 41 PageID 507




 unavailability of [certain] drugs will increase the risk of suicide”).

 IV.    The Equities and the Public Interest Weigh Against a Preliminary
        Injunction.
        The third and fourth requirements for issuance of a preliminary injunction—the

 balance of harms and whether the requested injunction will disserve the public

 interest—“merge when the Government is the opposing party.” Nken v. Holder, 556

 U.S. 418, 435 (2009). These factors tilt decisively in the government’s favor.

        First, enjoining the Executive Orders and the DoD directive would harm the

 public interest in slowing the spread of COVID-19 among millions of federal

 employees, contractors, service members, and the members of the public with whom

 they interact. In recognition of the government’s “compelling interest” in “stemming

 the spread of COVID-19,” Cuomo, 141 S. Ct. at 67, numerous courts reviewing

 “executive action designed to slow the spread of COVID-19” have concluded that

 “[t]he public interest in protecting human life—particularly in the face of a global and

 unpredictable pandemic—would not be served by” an injunction. Tigges v. Northam,

 2020 WL 4197610, at *10 (E.D. Va. July 21, 2020); see also, e.g., Brown v. Azar, 497 F.

 Supp. 3d 1270, 1298 (N.D. Ga. 2020), aff’d, 4 F.4th 1220 (11th Cir. 2021); Am.’s

 Frontline Drs. v. Wilcox, 2021 WL 4546923, at *8 (C.D. Cal. July 30, 2021); Valdez,

 2021 WL 4145746, at *13; Harris, 2021 WL 3848012, at *8; Williams, 2021 WL

 4894264, at *10–11; Wise, 2021 WL 4951571, at *6; Mass. Correction Officers, 2021 WL

 4822154, at *7–8; Johnson, 2021 WL 4846060, at *26–27.

        An injunction against the DoD directive would also adversely impact the public



                                             36
Case 8:21-cv-02429-SDM-TGW Document 23 Filed 11/03/21 Page 37 of 41 PageID 508




 interest and the national security of the United States. The Secretary of Defense

 “determined that mandatory vaccination against [COVID-19] is necessary to protect

 the Force and defend the American people.” Ex. 2 (further stating that “[t]o defend

 this Nation, we need a healthy and ready Force”). The Secretary made this decision

 after consulting with “medical experts and military leadership,” id., including the

 “Chairman of the Joint Chiefs of Staff, the Secretaries of the Military Departments,

 [and] the Service Chiefs,” Ex. 1. The Service Secretaries and Coast Guard leadership

 likewise found that COVID-19 impacts military readiness and that mandatory

 vaccination is necessary to prevent the spread of COVID-19 in the Force. See, e.g., Ex.

 6 ¶ 3.B.3; Ex. 7 ¶ 2; Ex. 10; Ex. 23 (ALCOAST 315/21) ¶ 1. The Court must “give

 great deference” to the “professional military judgment” of these leaders when it

 comes to what is needed to ensure military readiness. See Winter, 555 U.S. at 24–25.

       These professional military judgments are supported by the evidence showing

 COVID-19’s impact on the Force. Hundreds of thousands of service members have

 been infected, thousands have been hospitalized, and dozens have died. Ex. 14 ¶ 11.

 Plaintiffs argue that their “vaccination status was irrelevant for nearly two years, and

 it is irrelevant today.” Pls.’ Mot. 24. But that is plainly not the case.

       COVID-19 has “impacted exercises, deployments, redeployments, and other

 global force management activities,” Ex. 15 (Decl. of Major Scott Stanley) ¶ 6

 (including rendering an aircraft carrier non-operational because of an outbreak, id. ¶ 8),

 caused the cancellation of “19 major training events, many of which involved

 preparation and training with our foreign partners,” id. ¶ 9, and “required significant

                                             37
Case 8:21-cv-02429-SDM-TGW Document 23 Filed 11/03/21 Page 38 of 41 PageID 509




 operational oversight” by the most senior military leaders, id. ¶ 4.         COVID-19

 outbreaks have also rendered 133 Coast Guard units incapable of performing their

 missions, which have impacted counter-narcotics operations, as well the maintenance

 and repair of navigational aids necessary to ensure the safety of commercial vessels.

 Ex. 25 (Decl. of Capt. Timothy J. Buchanan) ¶¶ 7, 8.              Further, vaccination

 requirements of other nations restrict the ability of unvaccinated service members to

 participate in joint training exercises, which are “vital to the preservation of national

 security and the protection of our foreign interests.” Ex. 15 ¶¶ 10–11.

       Vaccinations have promoted readiness by reducing the risk of infections,

 hospitalizations, and deaths of service members, reducing the number of service

 members who are required to quarantine, and permitting the military to return to

 higher levels of occupancy in DoD facilities and hold in-person trainings. Id. ¶¶ 3, 14–

 19. As another court recently found, “the public interest in the nation’s military

 readiness may well be served by allowing military officials who are familiar with the

 unique challenges posed by the COVID-19 pandemic in a military setting to manage

 those challenges without this Court’s intervention.” Order at 6, Robert v. Austin, No.

 1:21-cv-02228 (D. Colo. Sept. 1, 2021), ECF No. 12.

       Even an injunction of the DoD mandate limited solely to the named Plaintiffs

 would harm the national defense and the public interest. If they are unvaccinated,

 Plaintiffs could get infected with COVID-19, become seriously ill, and face

 hospitalization and death—all of which would affect the readiness of their unit. Ex.

 14 ¶¶ 7–9. Unvaccinated service members also could spread the coronavirus to others,

                                            38
Case 8:21-cv-02429-SDM-TGW Document 23 Filed 11/03/21 Page 39 of 41 PageID 510




 which is of particular concern for the military, given that many service members work

 in close quarters or in operational settings, such as Navy ships or Coast Guard cutters.

 Id. ¶ 9; Ex. 15 ¶ 8; Ex. 25 ¶ 4; see Mass. Correction Officers, 2021 WL 4822154, at *8

 (noting the public interest in preventing the spread of COVID-19 in “congregate

 facilities”). Accordingly, even as it relates solely to individual Plaintiffs, enjoining the

 DoD mandate would impact readiness.

        Enjoining Executive Orders 14042 and 14043 would harm the public interest by

 hampering the efficiency of the federal civil service. The COVID-19 pandemic has

 interfered with numerous aspects of the government’s work by forcing office closures;

 interfering with employees’ access to paper-based records; limiting official travel; and

 causing staffing shortages. See generally Pandemic Response Accountability

 Committee,      Top     Challenges     Facing     Federal     Agencies     (June     2020),

 https://perma.cc/754N-56S9. Thus, enjoining these orders would likely interfere

 with the government’s ability to resume normal, pre-pandemic operations.

        Plaintiffs also request that the Court enjoin the Government from taking any

 adverse employment action or discipline for non-compliance with the EOs and DoD

 directive. See Compl. 93–94. But the military has discretion to handle matters of good

 order and discipline without interference from the judiciary. Chappell v. Wallace, 462

 U.S. 296, 300–01 (1983); see also Ex. 17 ¶ 23; Ex. 18 ¶ 23; Ex. 24 ¶ 17. An injunction

 prohibiting the military from initiating or completing its administrative and

 disciplinary processes “would be a disruptive force as to affairs peculiarly within the

 jurisdiction of the military authorities[,]” Orloff, 345 U.S. at 95, and contrary to the

                                             39
Case 8:21-cv-02429-SDM-TGW Document 23 Filed 11/03/21 Page 40 of 41 PageID 511




 public interest, see Guerra, 942 F.2d at 275. For civilians, a preliminary injunction

 would harm the government’s interest in handling employment disputes using the

 procedures established by Congress. See Garcia v. United States, 680 F.2d 29, 32 (5th

 Cir. 1982) (finding it “quite clear” that that enjoining the discharge of a federal

 employee “would have a far more disruptive effect on the administrative processes

 established by the government to handle cases such as these than would, on balance,

 be the burden on the employee resulting from a refusal to grant the injunction”).

       Plaintiffs argue only that there is a public interest in ensuring that their

 constitutional rights are not violated. Pls.’ Mot. 24–25. But as shown above, the

 Government is not violating their constitutional rights. And in any event the balance

 of interests weighs heavily against the entry of preliminary injunctive relief in light of

 the harms that would result to the national defense, to the health of the federal civilian

 and contractor workforce, and to the public health of the United States.

                                     CONCLUSION

       Accordingly, Plaintiffs’ motion for a preliminary injunction should be denied.

 Dated: November 3, 2021                      Respectfully submitted,

 BRIAN M. BOYNTON                             /s/ Zachary A. Avallone
 Acting Assistant Attorney General            ANDREW E. CARMICHAEL
                                              AMY E. POWELL
 ALEXANDER K. HAAS                            Senior Trial Counsel
 Director, Federal Programs Branch            ZACHARY A. AVALLONE
                                              COURTNEY D. ENLOW
 ANTHONY J. COPPOLINO                         R. CHARLIE MERRITT
 Deputy Director                              Trial Attorneys
                                              United States Department of Justice
                                              Civil Division, Federal Programs Branch
                                              1100 L Street, N.W.

                                            40
Case 8:21-cv-02429-SDM-TGW Document 23 Filed 11/03/21 Page 41 of 41 PageID 512




                                       Washington, DC 20005
                                       Tel: (202) 514-3346
                                       Email: zachary.a.avallone@usdoj.gov
                                       Counsel for Defendants




                                     41
